            Case 2:22-cv-03713-CMR                    Document 5    Filed 11/20/22    Page 1 of 4




                                             UNITED STATES DISTIRCT COURT FOR
                                           THE EASTERN DISTRICT OF PENNSYLVANIA


RAYMOND BROWN, PRO SE                                                                CASE# 22-3713
           VS.
SGT LINEMAN, OFFICER ROSA,
OFFICER BITTENBENDER
Sued in official and individual capacity




                                            AMENDED 1983 COMPLAINT
PLAINTIFF

     1. Plaintiff, Raymond Brown, who is located at 3752 N 15th street, Philadelphia, Pa 19140,
           and at all times lived in the State of Pennsylvania.

DEFENDANTS

     2. Defendant, Sgt Lineman # 8786, is a Sergeant of the Philadelphia Police Department.
     3. Defendant, Rosa # 5070, is an officer of the Philadelphia Police Department.
     4. Defendant, Bittenbender # 6417, is an officer of the Philadelphia Police Department.
     5. Each Defendant is responsible for the care, custody, well-being of individuals in their
           custody, as each Defendants has a duty to serve and protect, and at all times uphold the
           Constitution.
     6. Each Defendants, at all times mentioned in this complaint, were acting under the color of
           state law and is sued in their office and individual capacity.

     FACTS.

     7. On September 24, 2022, Plaintiff was pulled over by the Defendants, Sgt lineman, Officers
           Rosa and Bittenbender.
     8. Plaintiff was asked questions about his activity and answered the same questions, about
           three time, by Defendant Lineman.
    Case 2:22-cv-03713-CMR            Document 5        Filed 11/20/22      Page 2 of 4




9. Plaintiff enforce his right to remind silent, his fifth amendment right and defendant
   Lineman order Plaintiff out of his car.
10. Plaintiff was grab out his car, by Defendants Lineman, Rosa, and Bittenbender and
   slammed on to Plaintiff’s car.
11. Defendants Lineman, Rosa, and Bittenbender place Plaintiff in handcuffs improperly
   causing the handcuffs to lock into Plaintiff’s skin and cut into Plaintiff’s wrist.
12. Defendants intentionally failed to lock the handcuff to prevent any injury to Plaintiff.
13. Defendants Lineman, Rosa, and Bittenbender took Plaintiff from his car to Defendant
   Bittenbender police car.
14. Defendants Lineman, Rosa, and Bittenbender took Plaintiff’s handcuff and forcefully
   turned the handcuff while on Plaintiff's causing Plaintiff to cry out in pain, as Defendants
   slam Plaintiff.
15. Plaintiff cried out in pain, and for help, Defendants Lineman, Rosa, and Bittenbender
   refused to fix the handcuff.
16. Plaintiff’s person was search before being put into the police car and his wallet was in his
   right cargo pants pocket.
17. Plaintiff did not give consent for Defendants to search this car and informed Defendants
   that Plaintiff could retrieve the car information and the location of the cars information.
18. Defendants search Plaintiff’s car without consent.
19. Defendants stated that they were acting aggressive to Plaintiff because of the way
   Plaintiff was speaking to them, with his comments and statements to Defendants
   Lineman, Rosa, and Bittenbender.
20. Defendants Lineman, Rosa, and Bittenbender retaliated upon Plaintiff for enforcing his
   first, fourth, and fifth amendment, right to remine silent, freedom of speech.
21. Defendants delayed Plaintiff medical treatment as Plaintiff request medical treatment
   while I the custody of Defendants Lineman, Rosa, and Bittenbender, in retaliation for
   Plaintiff’s comments and statement.
22. Plaintiff was in need of medical treatment due to Defendants Lineman, Rosa, and
   Bittenbender retaliation upon Plaintiff, to Plaintiff right wrist.
         Case 2:22-cv-03713-CMR            Document 5        Filed 11/20/22       Page 3 of 4




   23. Defendants Lineman, Rosa, and Bittenbender used excessive force upon Plaintiff.

   LEGAL CLAIMS

   24. Defendants Lineman, Rosa, and Bittenbender retaliation upon Plaintiff violated Plaintiff
         rights and constitute a violation to Plaintiff’s 1st Amendment of the Constitution.
   25. Defendants Lineman, Rosa, and Bittenbender retaliation upon Plaintiff violated Plaintiff
         rights and constitute a violation to Plaintiff’s 4thst Amendment of the Constitution.
   26. Defendants Lineman, Rosa, and Bittenbender retaliation upon Plaintiff violated Plaintiff
         rights and constitute a violation to Plaintiff’s 5th Amendment of the Constitution.
   27. Defendants Lineman, Rosa, and Bittenbender retaliation upon Plaintiff violated Plaintiff
         rights and constitute a violation to Plaintiff’s 8th Amendment of the Constitution.
   28. Defendants Lineman, Rosa, and Bittenbender retaliation upon Plaintiff violated Plaintiff
         rights and constitute a violation to Plaintiff’s 14th Amendment of the Constitution.
   29. Defendants Lineman, Rosa, and Bittenbender excessive force upon Plaintiff violated
         Plaintiff rights and constitute a violation to Plaintiff’s 8th Amendment of the Constitution.
   30. Defendants Lineman, Rosa, and Bittenbender excessive force upon Plaintiff violated
         Plaintiff rights and constitute a violation to Plaintiff’s 14th Amendment of the Constitution.
   31. Defendants Lineman, Rosa, and Bittenbender search upon Plaintiff’s car violated Plaintiff
         rights and constitute a violation to Plaintiff’s 4th and 15th Amendment of the Constitution.

RELIFE

   32. Declaration that the acts and omission of Defendants Lineman, Rosa, and Bittenbender
         violated Plaintiff’s constitutional rights and the laws of this state.
   33. Compensational damages in the amount of $2,000,000.00 and punitive damages upon
         each Defendant Lineman, Rosa, and Bittenbender in the amount of $ 10,000.00
   34. Injunction ordering Defendants to pay Plaintiff hospital bill for Defendants Lineman, Rosa,
         and Bittenbender to be barred from working in law enforcement.
   35. Attorney fees, recovery, of this action, trial by jury and what ever this court deem just,
       Case 2:22-cv-03713-CMR           Document 5        Filed 11/20/22     Page 4 of 4




I declare all is true and correct pursuant to the penalties of perjury 28 section 1746 on this 19th
day of November, 2022.

Raymond Brown

RAYMOND BROWN

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